Form 2100B (12/15)
                                   United States Bankruptcy Court
                                    Southern District of Alabama
IN RE:

Bondurant Lumber Wholesale & Export                         Case No.: 13−02153
Division, Inc.                                              Chapter: 7




             NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
Claim No. 20 was filed or deemed filed under 11 U.S.C. § 1111(a) in this case by the alleged transferor. As evidence
of the transfer of that claim, the transferee filed a Transfer of Claim Other than for Security in the clerk's office of
this court on 9/16/21.



      Name of Alleged Transferor                            Name of Transferee
      Escambia County Bank                                  Amerifirst Bank, Inc.




      Address of Alleged Transferor                          Address of Transferee
                                                             George Hendrix
      P O Box 601                                            2151 Ringold
      Flomaton, Alabama 36441                                Street
                                                             Flomaton, AL 36441


                                  ~~DEADLINE TO OBJECT TO TRANSFER~~
The alleged transferor of the claim is hereby notified that objections must be filed with the court within twenty−one
(21) days of the mailing of this notice. If no objection is timely received by the court, the transferee will be
substituted as the original claimant without further order of the court.

Dated: September 20, 2021                                   Andrea Redmon
                                                            CLERK OF THE COURT




     Case 13-02153         Doc 325      Filed 09/20/21 Entered 09/20/21 12:44:29                 Desc Notice of
                                        Transfer of Claim Page 1 of 1
